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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 Marco Doda, DODA USA, Inc., and DODA
 COSTRUZIONE MACCHINE AGRICOLE, di
 Doda Aldo e C. snc,

                                    Plaintiffs,             Case No. 17-CV-00604-GMS
 vs.

 Waste Management, Inc., WM Intellectual                     JURY TRIAL DEMANDED
 Property Holdings, LLC, Waste Management
 National Services, Inc., and James L. Denson, Jr.

                                  Defendants.




  PLAINTIFFS’ RESPONSE TO (I) DEFENDANTS’ MOTION TO DISMISS COUNT IV
     OF THE COMPLAINT UNDER FED. R. CIV. P. 12(b)(1) OR 12(b)(6) AND (II)
  DEFENDANTS’ MOTION TO DISMISS ALL COUNTS AGAINST WMI & DENSON,
     COUNTS II & III AGAINST WMIP, AND COUNTS I & IV AGAINST WMNS

        Plaintiffs Marco Doda, DODA USA, Inc., and DODA Costruzione Macchine Agricole, di

 Doda Aldo e C. snc, (“Plaintiffs” or “DODA”), by their undersigned counsel, file this Response

 to (I) Defendants’ Motion to Dismiss Count IV of the Complaint Under Fed. R. Civ. P. 12(b)(1)

 or 12(b)(6) and (II) Defendants’ Motion to Dismiss All Counts Against WMI & Denson, Counts

 II & III Against WMIP, and Counts I & IV Against WMNS (collectively, the “Motions to

 Dismiss”) (D.I. 15 & 17, respectively).

        On the date hereof, pursuant to Fed. R. Civ. P. 15(a)(1)(B), Plaintiffs filed with the Court

 the First Amended Complaint (D.I. 22), which renders the relief requested in the Motions to

 Dismiss as moot.
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 Dated: July 31, 2017               MORRIS JAMES LLP


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